      Case 2:20-cv-00867-JCM-VCF Document 50 Filed 10/19/20 Page 1 of 3



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12   Attorneys for Defendant Wanda Hensley

13

14                                 UNITED STATES DISTRICT COURT
15                                       DISTRICT OF NEVADA
16
      AMERICAN GENERAL LIFE INSURANCE                     Case No.: 2:20-cv-00867-JCM-VCF
17    COMPANY,
                                                          DEFENDANT WANDA HENSLEY’S
18                   Plaintiff,                           MOTION TO TERMINATE CHRISTINA
                                                          MCLERNON, ESQ. AS COUNSEL OF
19    vs.                                                 RECORD IN THIS CASE
20    MICHAEL BLAKE; NANCY BLAKE; and
      WANDA HENSLEY,
21
                     Defendants.
22

23          Pursuant to LR IA 11-6(b), defendant Wanda Hensley moves the Court for an order
24   terminating Christina McLernon, Esq., as counsel of record in this case.
25          Ms. Hensley retained the law firm O’Hagan Meyer, LLC, to represent her in this case. Ms.
26   McLernon was originally handling this case, but she is no longer associated with the law firm
27   O’Hagan Meyer, LLC. Therefore, Ms. McLernon can no longer represent Ms. Hensley in this case.
28   ///


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      Case 2:20-cv-00867-JCM-VCF Document 50 Filed 10/19/20 Page 2 of 3



 1          Katherine A. Jones, Esq., of the law firm O’Hagan Meyer, LLC, has taken over as lead counsel

 2   in this case for Ms. Hensley. Ms. Jones’ pro hac vice application was approved by the Court on

 3   September 14, 2020. Therefore, the termination of Ms. McLernon as counsel of record in this case

 4   will not interfere or delay this case in any way, nor will it leave Ms. Hensley without counsel.

 5          Accordingly, Ms. Hensley respectfully requests that Ms. McLernon be terminated as counsel

 6   of record in this case as well as removed from the CM/ECF service list for this case.

 7          DATED this 18th day of October 2020.

 8                                                      MAIER GUTIERREZ & ASSOCIATES
 9
                                                        __/s/ Jason R. Maier__________________
10                                                       JASON R. MAIER, ESQ.
                                                         Nevada Bar No. 8557
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16                                                          Chicago, Illinois 60601
17                                                          Attorneys for Defendant Wanda Hensley
18

19

20                               IT IS SO ORDERED.
21

22                               ___________________________________
                                 Cam Ferenbach
23
                                 United States Magistrate Judge
24
                                        10-19-2020
25                               Dated:_____________________________
26
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      Case 2:20-cv-00867-JCM-VCF Document 50 Filed 10/19/20 Page 3 of 3



 1                                       CERTIFICATE OF SERVICE
 2             Pursuant to Fed. R. Civ. P. 5(b), I hereby certify that on the 18th day of October, 2020, the

 3   foregoing DEFENDANT WANDA HENSLEY’S MOTION TO TERMINATE CHRISTINA
 4   MCLERNON, ESQ. AS COUNSEL OF RECORD IN THIS CASE was served via the Court’s
 5   CM/ECF system to all parties and counsel as identified on the Court-generated Notice of Electronic

 6   Filing.

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 8                                                  /s/ Brandon Lopipero
                                                    An employee of MAIER GUTIERREZ & ASSOCIATES
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